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             UNITED STATES COURT OF APPEALS
                 FOR THE SECOND CIRCUIT

LINDA M. LESLIE, Regional Director of the Third Region
of the National Labor Relations Board for and on behalf
of the National Labor Relations Board,
                           Petitioner-Counter-Defendant-Appellant,
                                   v.
STARBUCKS CORP.,
                           Respondent-Counter-Claimant-Appellee.


On Appeal from the United States District Court for the Western
      District of New York, 1:22-cv-00478-JLS (W.D.N.Y.)


                   APPELLANT’S REPLY BRIEF

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     This case involves an audacious, and thus far successful, effort by

an employer to derail what is supposed to be a streamlined injunction

proceeding to protect employee rights. Appellee Starbucks propounded

overbroad and irrelevant discovery requests to numerous employees

and their union that sought to scrutinize protected organizing activity.

Regrettably, the district court indulged this fishing expedition, even

after an NLRB administrative law judge ruled that Starbucks had

violated employees’ statutory rights. This Court should put a stop to it.

I.   Starbucks’s project to radically expand the scope and
     availability of expedited discovery in Section 10(j) cases
     should be rejected.

     Starbucks insists that discovery is routine in Section 10(j) cases.1

In fact, most Section 10(j) cases are decided without discovery,2

particularly in this Circuit.3 And, when granted, discovery is often


1 Answering 1. The Director’s opening brief is abbreviated “Opening.”

Starbucks’s answering brief is abbreviated “Answering.”
2 See Robert Iafolla, Starbucks’ Discovery Fights Stall Labor Injunction

Cases, Bloomberg Law (Mar. 31, 2023, 5:35 AM),
https://news.bloomberglaw.com/daily-labor-report/starbucks-discovery-
fights-are-stalling-labor-injunction-cases.
3 See, e.g., Kreisberg v. HealthBridge Mgmt., LLC, No. 3:12-CV-1299

(RNC), 2012 WL 6553103, at *5 n.8 (D. Conn. Dec. 14, 2012) (denying
employer’s discovery requests), aff’d, 732 F.3d 131 (2d Cir. 2013);
Mattina v. Kingsbridge Heights Rehab. & Care Ctr., 329 F. App’x 319,



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tightly restricted, and is not extended to nonparties.4 None of this is

inconsistent with the Section 10(j) Manual’s recognition that limited

party discovery may be appropriate in other circumstances.5 Thus,

contrary to Starbucks’s protestations, this case is not about the Board’s

obstruction of discovery but about Starbucks’s brazen pursuit of an

“outlier,” “aggressive discovery strategy” that has improperly derailed




323 (2d Cir. 2009) (summary order), aff’g 2008 WL 3833949 (S.D.N.Y.
Aug. 14, 2008) (discovery properly denied); Dunbar v. Landis Plastics,
977 F. Supp. 169, 176-77 (N.D.N.Y. 1997) (discovery unnecessary given
the “extensive affidavit evidence”), remanded on other grounds, 152
F.3d 917 (2d Cir. 1998) (unpublished table decision); see also Wilson v.
Jersey Shore Steel Co., No. 4:20-CV-00524, 2020 WL 2064146, at *2 n.6
(M.D. Pa. Apr. 29, 2020) (denying discovery and hearing).
4 Overstreet v. Starbucks Corp., No. 2:22-cv-00676 (D. Ariz. 2022), ECF

No. 16 (limited discovery against petitioner; no nonparty discovery);
Overstreet v. Absolute Healthcare, No. 2:22-cv-00361 (D. Ariz. 2022),
ECF No. 14 (single deposition of terminated employee); Drew-King v.
Amazon.com Servs., LLC, No. 1:22-cv-01479 (E.D.N.Y. Mar. 30, 2022),
ECF No. 31, at 11–12, 24, 39, 48 (depositions of four witnesses whose
statements accompanied petition; no nonparty discovery); United States
v. Electro-Voice, Inc., 879 F. Supp. 919, 923 (N.D. Ind. 1995) (limited,
expedited discovery where witness affidavits had not been disclosed).
5 Contra Answering 2, 36–37. The Manual does not address nonparty

discovery, as it is unprecedented in 10(j) litigation. See
https://www.nlrb.gov/guidance/key-reference-materials/manuals-and-
guides (March 2020). In any case, as the Section 10(j) Manual’s preface
states, it is “not a form of authority binding on the General Counsel or
the Board.” Accord G & T Terminal Packaging Co. Inc. v. NLRB, 459 F.
App’x 19, 24 (2d Cir. 2012) (summary order).


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what should be streamlined, expeditious 10(j) proceedings.6 It is

Starbucks, not the Board, that is “running its playbook.”7

               A. Starbucks’s subpoenas should have been quashed or
                  highly limited; the district court’s failure to do so was an
                  abuse of discretion.

      Starbucks’s extensive, overbroad, and coercive nonparty

subpoenas are unprecedented and fail the “more demanding and

sensitive inquiry” of Federal Rule of Civil Procedure 45.8 Starbucks

attempts a rhetorical sleight of hand by citing Committee Notes to Rule

45 regarding the scope of nonparty discovery,9 eliding that the question

here is one of burden, not scope. Making individual employees cull

through thousands of records to identify and redact documents of




6 Above at n. 2; see Kaynard v. MMIC, Inc., 734 F.2d 950, 954 (2d Cir.

1984) (“the intent of Congress in providing in § 10(j) [was] a swift
interim remedy to halt unfair labor practices.”).
7 Contra Answering 47.

8 Va. Dep’t of Corrs. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019); see In

re Public Offering PLE Antitrust Litig., 427 F.3d 49, 53 (1st Cir. 2005);
Corbett v. eHome Credit Corp., No. 10-cv-26, 2010 WL 3023870, at *3
(E.D.N.Y. Aug. 2, 2010). Starbucks cites no case to support its bare
assertion that these cases are “incorrect” [Answering 32] in recognizing
the “special weight” given to nonparty interests under Rule 45. See id.
9 Id. at 33.




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peripheral (at best) relevance is an oppressive and unreasonable

expectation.10

     The requests are also not relevant. Starbucks theorizes that

discovery into the Union’s media strategy is relevant to whether the

Union, not Starbucks, chilled employees by publicizing the violations,11

despite the Sixth Circuit’s rejection of this argument.12 Indeed, the

Union’s publicity of the Buffalo-area violations is of little consequence

when Starbucks, a global company, itself widely disseminated some of

its actions.13 In any event, the record already establishes that the Union




10 The court must consider the “size of and resources available” to the

subpoena recipients. United States v. IBM Corp., 83 F.R.D. 97, 108
(S.D.N.Y. 1979). The case cited by Starbucks at Answering 33 (First
Am. Corp. v. Price Waterhouse LLP, 154 F.3d 16, 23 (2d Cir. 1998)), is
inapposite as it involved a subpoenaed multinational accounting firm.
11 Answering 35. Starbucks misstates the record in suggesting that ALJ

Muhl found “many” of its discovery requests relevant (Answering 24); in
fact, the only information he found relevant was anonymized
information about levels of employee union support over time, which
the Director has no objection to providing. A381–84.
12 McKinney v. Starbucks Corp., 77 F.4th 391, 400 (6th Cir. 2023), cert.

pending, No. 23-367. Contrary to Starbucks’s claim, the Sixth Circuit
reached this decision under the same two-factor 10(j) analysis as this
Court applies. Id. at 397–98.
13 Opening 39 n.144.




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publicized Starbucks’s labor violations,14 so discovery into the Union’s

“media strategy”15 is unnecessary.

     Starbucks’s attempt to justify discovery by accusing the Union and

the Board of sensationalizing and “mischaracterizing” the facts,

including Starbucks’s point that fired employee Cassie Fleischer

testified she was not “separated,” is baseless.16 In fact, the

mischaracterization is Starbucks’s, as ALJ Rosas found that Fleischer

had been unlawfully terminated via constructive discharge.17

     Starbucks’s suggestion that McKinney supports the overbroad

discovery allowed by the district court here also fails.18 First, discovery

in McKinney was much more limited: there, Starbucks issued a request

for production to the Agency and deposed a few witnesses but did not

seek broad nonparty discovery. Second, in that case, the 10(j) hearing



14 A080–83 (employee shared recording with media), A091–92

(discussing news stories), A097–100 (Union’s social media), A115
(employee spoke to press), A126 (Union social media posts on
terminations), A134–37 (national impact of social media posts), A146
(media interest in Gen Z organizing).
15 Answering 35.

16 Answering 35–36 & n.4.

17 A332–33.

18 Answering 35–36.




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occurred before the administrative record was available.19 Here, the

district court stayed the 10(j) proceeding until the administrative

record, including just-and-proper evidence, was available.20 So because

the administrative hearing at issue here included just-and-proper

evidence,21 discovery was even less necessary.

     Beyond the lack of relevance, Starbucks’s subpoenas intruded

upon important confidentiality interests arising from the NLRA. The

district court was not free to discount those interests in a proceeding

under that very statute.22 Instead, it should have protected those

interests as recognized in Guess?, Inc.,23 which provides a tested,

appropriate framework consistent with the Federal Rules.24 The district

court’s refusal to give effect to NLRA policy was legal error.25


19 Compare McKinney v. Starbucks Corp., No. 2:22-cv-2292-SHL-cgc,

2022 WL 5434206 (W.D. Tenn. Aug. 18, 2022), with Starbucks Corp.,
Nos. 15-CA-290336 et al., 2023 WL 3254440 (NLRB Div. of Judges May
4, 2023).
20 ECF 29; compare A155 (administrative case tried July 11–September

14, 2022) with A004 (10(j) petition filed June 21, 2022).
21 A094, A147.

22 See A447–48, A453–54, A499–500, A503–04.

23 339 NLRB 432 (2003).

24 Contra Answering 31.

25 Kaiser Steel Corp. v. Mullins, 455 U.S. 72, 83–85 (1982).




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      Starbucks’s claim that the subpoena instructions already

contained “extensive protections” for confidential, protected activity is

meritless,26 as those instructions contain such broad exceptions to those

supposed protections that they are worthless. As previously noted,27 and

found by ALJ Muhl,28 the exceptions swallow the rule. For example,

while stating that the subpoenas do not seek evidence of Section 7

activity, the instructions also state that the exclusion only applies to

activities that are “unrelated to matters that had or may have had an

effect on other employee’s [sic] interest in union organizing or . . .

representation” or that “otherwise do not relate to whether Section 10(j)

relief would be ‘just and proper.’”29 And the district court only allowed

name redactions in paragraph 1(f).30 Starbucks’s notion that quashing a

number of requests itself establishes a reasoned decision31 does not


26 Id. at 29.

27 Opening 12 & n.41.

28 A382–83.

29 SSA 356, SSA 367.

30 SA013 (contra Answering 31). And contrary to Starbucks’s assertion

that the Director took a “wait-and-see” approach [Answering 43], taking
a definitive position that the subpoenas were unlawful would
improperly prejudge a question the agency might adjudicate.
31 Id. at 2, 19.




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withstand scrutiny. If true, parties could simply lard up discovery with

frivolous demands to justify others.

              B. Expedited discovery should be limited in breadth.

         There is no support for Starbucks’s novel assertion that expedited

discovery encompasses the full scope of merits discovery.32 Starbucks’s

own authority says otherwise: “a grant of expedited discovery does not

open the door to discovery on all matters.”33 Courts consistently take

account of the “breadth of the discovery requests” in deciding whether

to approve them.34 Starbucks’s cases agree. Stern v. Cosby limited

discovery solely to the issue of whether a party tampered with

witnesses.35 And Strike3 Holdings, LLC v. Doe permitted a subpoena to

an ISP to identify an anonymous defendant.36 The district court’s order

in this very case purported to grant “limited, expedited discovery.”37

And contrary to Starbucks’s assertions that the Director has been



32 Answering 26–27.

33 6 Moore’s Fed. Prac. § 26.121 (2023), cited in Answering 28.

34 Id.

35 246 F.R.D. 453, 458 (S.D.N.Y. 2007).

36 964 F.3d 1203, 1207 (D.C. Cir. 2020). The “good cause” standard

discussed there is unrelated to expedited discovery. Id. at n.2.
37 SA003 (emphasis added).




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intransigent,38 she was amenable to the nonparties’ suggestion of more

limited discovery.39 Earlier, she sought a protective order as an

alternative to quashing the subpoenas entirely, which the district court

denied.40 By failing to apply the proper standards for expedited and

nonparty discovery and refusing to consider statutory confidentiality

interests, the district court abused its discretion.

     Starbucks contends that the Director waived or forfeited her

argument that a heightened “good cause” standard applies to expedited

discovery here.41 Not true.42 She consistently argued that Starbucks’s

subpoena requests were unreasonably overbroad and burdensome given

the nature of the proceeding.43 Nonetheless, parties are not limited “to

the precise arguments they made” in their initial papers.44 Even on



38 Answering 1, 12, 32.

39 ECF 117, at 10.

40 ECF 44; contra Answering 32.

41 Answering 26.

42 See ECF 88, at 4–5 (arguing “good cause” discovery standard applied

in preliminary injunction cases, citing R.R. Donnelley & Sons Co. v.
Marino, 505 F. Supp. 3d 194, 210 (W.D.N.Y. 2020)); ECF 117, at 10–11
(same); ECF 122, at 4–5 (same); A477.
43 ECF 44, at 10, 12, 15–18, 21.

44 Eastman Kodak Co. v. STWB, Inc., 452 F.3d 215, 221 (2d Cir. 2006).




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appeal, this Court will “entertain additional support that a party

provides for a proposition presented below.”45 Starbucks responded to

the Director’s “good cause” argument.46 It should not be heard to

complain now.47

II.      The district court’s failure to apply the correct legal
         standards and consider important factors warranted
         reconsideration.

         The Director’s repeated efforts to urge the court to accord its

discovery decisions with relevant authority and apprise the court of new

developments were wholly proper.

         Starbucks claims that the district court “did ‘carefully balance . . .

confidentiality concerns’” in rejecting the NLRB’s motions for

reconsideration of its motions to quash Starbucks’s subpoenas.48 But the

district court’s blithe statement that it had “already” considered the

appropriate confidentiality concerns49 is not evidence that the district

court actually conducted the appropriate analysis. To pay lip service (at


45 Id.

46 ECF 124, at 15.

47 See Atkins v. New York City, 143 F.3d 100, 103 (2d Cir. 1998) (noting

that litigants can “waive[] the waiver point”).
48 Answering 38 (quoting SA024).

49 SA024.




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best) to these protections fails to demonstrate that the district court

actually took key statutory confidentiality concerns into account.

     Starbucks’s complaints also ignore that this Court itself suggested

reconsideration was warranted, given the decision of ALJ Rosas in the

NLRB proceeding underlying the Section 10(j) case.50 The Director

moreover never argued the separate ALJ decision in the Guess?

proceeding was controlling.51 Rather than being “perverse[,]”52

considering relevant ALJ findings would reflect sound judgment and

discretion. And other developments—a decertification petition at one of

the stores involved and the Sixth Circuit’s decision in McKinney—

compelled a change in course,53 and reconsideration of the court’s prior

orders.




50 In re Workers United, No. 22-3229 (2d Cir. 2023), ECF 77.

51 Contra Answering 37; see Opening 42; ECF 117, at 10.

52 Answering 37.

53 Opening 42.




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III. Neither the Federal Rules nor the district court’s inherent
     powers permitted the court to dismiss the Section 10(j)
     petition because nonparties refused to comply with
     subpoenas.

           A. Rule 45 remains the proper means to obtain compliance
              with nonparty subpoenas, a method the district court
              never attempted.

     With respect to document requests like the ones at issue here,

“Rule 37 by its terms applies only to a motion to compel production from

a party under Rule 34.”54 And “Rule 34 in turn now [following 1991

amendments to that rule] provides that motions to compel production

from non-parties are governed by Rule 45.”55

     Despite this clear delineation of authority in the text of the rules,

Starbucks posits its own textual interpretation: “Rule 37 applies both to

parties who fail to ‘provide’ discovery themselves and to parties who

‘fail[] to obey an order’ to ‘permit discovery.’”56 Starbucks thus argues


54 Cruz v. Meachum, 159 F.R.D. 366, 368 (D. Conn. 1994); see also Daval

Steel Prod., a Div. of Francosteel Corp. v. M/V Fakredine, 951 F.2d
1357, 1364 (2d Cir. 1991) (noting lack of support for “the proposition
that a pleading may be struck as a contempt penalty for non-compliance
with a subpoena”).
55 In re Exxon Valdez, 142 F.R.D. 380, 385 (D.D.C. 1992) (citing Fed. R.

Civ. P. 34(c) (“As provided in Rule 45, a nonparty may be compelled to
produce documents and tangible things or to permit an inspection”))
(emphasis added).
56 Answering 50 (quoting Fed. R. Civ. P. 37) (emphasis Starbucks’s).




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the word “permit” expands the reach of the Rule to authorize dismissal

sanctions based on independent, nonparty noncompliance.

      This is nonsense. Rule 37 explicitly limits its reach to orders

under discovery rules applicable only to parties or—in limited

circumstances—nonparty deponents subject only to contempt

sanctions.57 The word “permit” was added to Rule 37(b)(2) in 1970

because some forms of discovery now encompassed by the rules, such as

party depositions under Rule 30, allowing entry to property, testing,

inspecting or photographing tangible things, or submitting to an

examination, do not require a party to “produce” anything.58 It was not,

as Starbucks implies, added to extend the reach of Rule 37 to nonparty

subpoenas.

      Here, the subpoenaed nonparties have persistently maintained

the subpoenas were improper and have pursued every means available

to them to obtain review.59 The district court could, and indeed was


57 Fed. R. Civ. P. 37(a)(3)(B); (b)(2).

58 See Wright & Miller, 8B Fed. Prac. & Proc. Civ. § 2289, n.1 (3d ed.)

(2023) (discussing Advisory Committee Notes); Gradford v. McDougall,
No. 1:17-CV-00575-DAD-GSA-PC, 2019 WL 1078356, at *4 (E.D. Cal.
Mar. 7, 2019).
59 See, e.g., ECF 42, 43, 49, 53, 64, 81, 102-1, 108, 123.




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obligated to, hold them in contempt if it deemed compliance required;

contempt is the sole mechanism provided by Rules 34, 37, and 45 to

address nonparty subpoena noncompliance. Yet the district court

refused to do so, instead inexplicably sanctioning the Director.

     The district court justified this action with an ipse dixit statement

that contempt would be ineffective because the NLRB’s Guess?

proceeding “would persist.”60 Starbucks provides no further elucidation

on this point; its brief argues without reasoning that “[m]ost obviously,

holding ‘subpoenaed nonparties in contempt’ would be pointless”

because of the Guess? proceeding.61 But neither the court below nor

Starbucks explain how the Board’s proceeding could negate the court’s

unquestioned power to immediately wield contempt sanctions, including

fines and incarceration, to compel compliance from nonparties.62 After

all, a Board decision in the Guess? case may be months or more in the

future. And even if the Board orders a remedy requiring the subpoenas




60 A506.

61 Answering 43.

62 Compare Hester v. Vision Airlines, Inc., 687 F.3d 1162 (9th Cir. 2012)

(district court “thoroughly” discussed inadequacy of other sanctions in
three-and-a-half-page portion of written order).


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withdrawn (which it may not), such an order would have no effect

unless and until it was enforced by a reviewing court of appeals—

perhaps this very Court.63

     Finally, Starbucks’s curious suggestion that the Director should

have “instructed the subpoenaed nonparties not to comply, thereby

inviting contempt proceedings[,]”64 misses the mark thrice. First, she

had no reason to do, as the nonparties had already made the decision

not to comply, and they are not under the Director’s control.65 Second,

neither she nor her agency staff are authorized to give such advice.66

Third, under Starbucks’s own cases, doing so would have been

sanctionable conduct—parties generally cannot tell nonparties not to

comply with subpoenas.67



63 See 29 U.S.C. § 160(e), (f); Myers v. Bethlehem Shipbuilding Corp.,

303 US 41, 49 (1938) (“No power to enforce an order is conferred upon
the Board.”); see also Opening 63.
64 Answering 2–3.

65 Opening 45–47.

66 NLRB Casehandling Manual, Part 1, Sec. 10012.1 (2023) (“Although

Board agents are obligated to provide information [regarding the
NLRA], they may not give legal advice”).
67 Answering 41 (citing Moses v. Am. Apparel Retail, Inc., No. 13-cv-

2753-SHL-DKV, 2015 WL 4665968, at *2 (W.D. Tenn. Aug. 6, 2015));



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           B. It was error to deploy Rule 37 sanctions against the
              Director for carrying out her statutory duties.

     Starbucks’s effort to rehabilitate the district court’s defective

analysis regarding the Rule 37 dismissal is unavailing. Initially, the

NLRB did not “launch . . . proceedings within the agency to prevent

document production[.]”68 Indeed, the agency “cannot initiate its own

proceedings; implementation of the Act is dependent upon the initiative

of individual persons.”69 Such proceedings are instead “launched” by the

filing of charges by private persons—here, the nonparties who had

already refused to produce subpoenaed records.70

     Nor has the NLRB, as a party, done anything to warrant

sanction—much less terminating sanctions.71 As discussed above in

Section III-A, the district court did not engage in any serious

examination of alternative sanctions, including against those able to

comply. Nor did any prolonged delay occur because of the Director’s


Answering 48 (citing Fox Indus., Inc. v. Gurovich, No. 2:03-cv-05166-
SJF-WDW, 2006 WL 2882580, at *10 (E.D.N.Y. Oct. 6, 2006)).
68 Answering 40.

69 NLRB v. Indus. Union of Marine & Shipbuilding Workers, Loc. 22,

391 U.S. 418, 424 (1968) (cleaned up).
70 29 U.S.C. § 160(c)

71 Opening 44–46, 51.




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actions—upon receiving the conditional dismissal order, she

immediately signaled her inability to comply, citing statutory and

regulatory obligations.72 What delay has occurred in this case occurred

much earlier, and was due to the District Court’s decision to stay this

case while the noncomplying nonparties sought mandamus from this

Court.73

             C. Inherent power did not permit the district court to dismiss
                this case.

     Starbucks argues that even if the district court’s dismissal was not

authorized by Rule 37, it was nonetheless permissible under the court’s

inherent power.74 But because “the district court did not invoke its

inherent powers in awarding the sanctions”—instead citing Rule 37 and

equitable principles—this Court “need not speculate as to whether these

powers could justify the sanctions.”75

     In any event, inherent authority does not permit dismissal here.

The Director had not “disobey[ed] the court’s” prior orders when the


72 A511–14.

73 ECF 81; see also Opening 49 (discussing inapplicability of remaining

Rule 37 factors).
74 Answering 48.

75 Lipscher v. LRP Publ’ns, Inc., 266 F.3d 1305, 1323 (11th Cir. 2001).




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district court issued its conditional dismissal order.76 And in Yukos

Capital S.A.R.L. v. Feldman, cited by Starbucks, this Court held that

“courts should impose sanctions pursuant to their inherent authority

only in rare circumstances” and, in the discovery context, “that

discretion should be exercised with even more restraint than usual.”77

“Inherent power sanctions are thus not a primary mechanism by which

a party can obtain relief for a discovery abuse[.]”78 Inherent power is not

a kludge to replace “strict adherence to the clearly delineated

procedures” of an applicable rule.79

     Starbucks’s argument that the Director’s actions in a separate

statutory proceeding authorized by law “thwart[ed]” compliance with

the discovery orders,80 gets things backwards. Nonparties’ subpoena




76 Mitchell v. Lyons Pro. Servs., Inc., 708 F.3d 463, 467–68 (2d Cir.

2013).
77 977 F.3d 216, 235 (2d Cir. 2020).

78 Yukos, 977 F.3d at 236.

79 Indep. Prods. Corp. v. Loew's Inc., 283 F.2d 730, 733 (2d Cir. 1960);

see also S. New England Tel. Co. v. Glob. NAPs Inc., 624 F.3d 123, 145,
n.7 (2d Cir. 2010) (use of inherent power instead of applicable civil rule
is “needless and confusing” and “can only obscure analysis of the
problem”).
80 Answering 42–48.




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noncompliance preceded the Guess? proceeding81 and there is every

indication it would have persisted, at least until appellate review of the

discovery orders occurred. This is thus not a case like Moses or Fox,

where a party is directing or advising a nonparty not to comply with a

court order.82

     Nor were the Director’s actions the product of bad faith,

willfulness, or fault.83 Starbucks dismisses the established presumption

of regularity with an incorrect assertion that all official acts are subject

to “probing, in-depth review.”84 But Starbucks’s citation for that point,

to Overton Park, is telling, since that case applies to reviewable final

agency actions, not unreviewable prosecutorial decisions.85

     The correctness of the Director’s actions are underscored by the

agency ALJ’s determination that Starbucks violated the Act through its




81 Opening 13–15.

82 Contra Answering 41, 49–50.

83 In re Att’y Gen. of U.S., 596 F.2d 58, 66 (2d Cir. 1979).

84 Answering 49 (citing Citizens to Pres. Overton Park, Inc. v. Volpe, 401

U.S. 402, 415 (1971)).
85 Compare Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto Ins. Co.,

463 U.S. 29, 43 (1983), with NLRB v. Newark Elec. Corp., 14 F.4th 152,
163 (2d Cir. 2021).


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discovery, thus creating more than “a fair ground of doubt” that the

Director’s pursuit of that charge was blameworthy.86 Accordingly, there

is no “clear and convincing evidence of bad faith,” a necessary

prerequisite to sanction under inherent powers.87

           D. The Guess? proceeding was a proper exercise of the
              agency’s statutory authority to prevent and remedy unfair
              labor practices.

     Starbucks’s only response to the fact that the Director was acting

pursuant to separate legal duties,88 is its assertion that the Guess? case

is beyond the agency’s statutory authority.89 But it points to no

prohibition in the statute or explanation why coercive employer

surveillance should be irremediable when “simply accomplish[ed] by

subpoena.”90 Any dispute about the propriety of the Guess? case can

only be resolved by a circuit court upon review of a final Board order.91

Moreover, this Court has held that where a party is faulted under Rule



86 See S. New England Tel., 624 F.3d at 145.

87 Yukos, 977 F.3d at 235.

88 See Opening 48–49.

89 Answering 54.

90 United Nurses Assn’s of Cal. v. NLRB, 871 F.3d 767, 788 (9th Cir.

2017).
91 Opening 63.




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37 for actions taken pursuant to other laws, sanctions are inappropriate

and “the matter is at an end.”92

     Starbucks also argues that the General Counsel could have

convinced the Board to dismiss the Guess? proceeding, describing the

General Counsel as the Agency’s “right hand,” and the Board as the

Agency’s “left hand.”93 This analogy ignores the Agency’s structure and

history. With passage of the 1947 Taft-Hartley Act, Congress

restructured the Agency so that the “General Counsel of the Board

[w]ould be independent of the Board’s supervision and review.”94

Indeed, the Fifth Circuit has described the “stark division of labor

between the General Counsel and the Board[,]” and rejected the notion

they are “fully and inextricably linked[.]”95




92 Shcherbakovskiy v. Da Capo Al Fine, Ltd., 490 F.3d 130, 139 (2d Cir.

2007).
93 See Answering 46.

94 NLRB v. UFCW, Loc. 23, 484 U.S. 112, 117-18 (1987); see also Int’l

Ladies’ Garment Workers Union, Loc. 415-475 v. NLRB, 501 F.2d 823,
829 (D.C. Cir. 1974) (“Congress provided for a General Counsel whose
prosecutorial acts were not to be subject to Board countermand”).
95 See Exela Enter. Sols., Inc. v. NLRB, 32 F.4th 436, 443 (5th Cir.

2022).


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      As the Director already explained, the General Counsel cannot

unilaterally withdraw a complaint once it is before the Board.96 And the

choice to request such an action is among the array of decisions

committed to her unreviewable statutory discretion; there is no lawful

basis for a court to demand it.97

IV.   Starbucks’s separation of powers argument inverts the
      reality of this case.

      Starbucks argues that the NLRB’s adjudication of a distinct

statutory question committed to its authority violates separation of

powers principles.98 It also asserts without basis that the agency sought

to restrict what information could be used in the 10(j) proceeding.99 But

the Board’s determinations involve public rights specifically and

exclusively committed to its jurisdiction.100 The impermissible

interference in this case runs the opposite way.




96 See Opening 49–50.

97 UFCW, Loc. 23, 484 U.S. at 126.

98 Answering 52.

99 Id. The Guess? proceeding only examines what requests are unlawful,

not how information obtained lawfully may be used.
100 As explained above at Section III-D, the agency is authorized by

statute to conduct this inquiry, contra Answering 54.


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             A. The Guess? proceeding does not violate separation of
                powers.

      Starbucks contends that the NLRB has “purported to set the

metes and bounds of appropriate discovery on 10(j) questions” by

adjudicating claims that Starbucks’s 10(j) discovery requests violate the

NLRA.101 According to Starbucks, this breaches separation of powers

principles because it results in “control” of an Article III court’s

judgment by an “officer in the executive department.”102

      Starbucks does not apply the appropriate standard. The Supreme

Court uses two different approaches. In situations like the district

court’s conditional dismissal order, where there is “usurpation” or a

branch increasing powers at the expense of another, a bright-line test

controls.103 But as to the issue raised by Starbucks, the legal question is

whether a non-Article III forum, the NLRB, is exercising “essential

attributes of judicial power[.]”104 This “pragmatic, flexible” inquiry “is

guided by . . . practical attention to substance rather than doctrinaire


101 Answering 53.

102 Id. at 54.

103 Morrison v. Olson, 487 U.S. 654, 694 (1988).

104 Commodity Futures Trading Comm'n v. Schor, 478 U.S. 833, 851

(1986).


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reliance on formal categories.”105 The Court should consider “the origins

and importance of the right to be adjudicated, and the concerns that

drove” Congress’s design.106

      Here, the rights at issue in the Guess? proceeding are public rights

created by Congress.107 And employee self-organization “is a

fundamental right.”108 Initial adjudication of such rights may be

assigned to an administrative forum,109 even if a dispute involves

competing legal rights or interests, including constitutional issues.110

Congress’s purpose in assigning initial adjudication to the Board was to

obtain “uniform application” and avoid “diversities and conflicts”

resulting from “a variety of local procedures and attitudes toward labor

controversies.”111 The NLRA is thus a “specialized area[] having




105 Id. 847–48.

106 Id. at 851.

107 Nat’l Licorice Co. v. NLRB, 309 U.S. 350, 366 (1940).

108 NLRB v. Jones & Laughlin Steel Corp., 301 U.S. 1, 33 (1937).

109 Atlas Roofing Co., Inc. v. Occupational Safety & Health Rev.

Comm’n, 430 U.S. 442, 449 (1977).
110 See, e.g., Lechmere, Inc. v. NLRB, 502 U.S. 527, 534 (1992).

111 Garner v. Teamsters, Chauffeurs & Helpers Loc. Union No. 776, 346

U.S. 485, 490 (1953).


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particularized needs and warranting distinctive treatment.”112 The

Board’s consideration of whether Starbucks’s subpoenas were an unfair

labor practice applies its specialized knowledge of labor disputes.113 It is

legally distinct, albeit factually related, to the district court discovery

disputes.

      Considering the “congressional plan at issue and its practical

consequences[,]”114 there is nothing untoward about the Guess?

proceeding. It is simply a consequence of the Board being the sole

“public agent chosen by Congress” to enforce the Act.115

              B. Board proceedings do not interfere with judicial functions
                 and its orders do not have binding effect unless enforced
                 by an Article III court.

      The Supreme Court long ago observed that “until the Board’s

order has been affirmed by the appropriate . . . Court of Appeals, no

penalty accrues for disobeying it.”116 Indeed, contrary to Starbucks




112 N. Pipeline Const. Co. v. Marathon Pipe Line Co., 458 U.S. 50, 62,

102 (1982).
113 See NLRB v. J. Weingarten, Inc., 420 U.S. 251, 266 (1975).

114 Commodity Futures Trading Comm'n v. Schor, 478 U.S. 833 (1986).

115 Nathanson v. NLRB, 344 U.S. 25, 27 (1952).

116 Myers v. Bethlehem Shipbuilding Corp., 303 U.S. 41, 48 (1938).




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hyperbolic claims,117 “punitive measures” are unavailable to the Board;

it is limited to make-whole relief.118 And whether a particular Board

remedy “trenches” upon other policies does not implicate separation of

powers, because that issue can only be decided on review of a final

Board order.119

     Nothing the Board does will “countermand” the final judgment of

a federal court.120 While not every judicial act has preclusive effect,

enforcement of Board remedies, like any other proceeding, is subject to

the law of judgments.121 Accordingly, Starbucks’s reliance on Plaut v.

Spendthrift Farm, Inc.,122 which involved Congress permitting litigants

to reopen certain dismissed cases, is misplaced. And review of Board

findings and remedies by an Article III court “preserves the appropriate

exercise of the judicial function” animating separation of power


117 Answering 44.

118 Loc. 57, Int’l Ladies’ Garment Workers’ Union v. NLRB, 374 F.2d

295, 303 (D.C. Cir. 1967).
119 Hoffman Plastic Compounds, Inc. v. NLRB, 535 U.S. 137, 152 (2002).

In any event, there is no conflict here as Guess? is fully consistent with
the Federal Rules.
120 Contra Answering 44.

121 Opening 62.

122 514 U.S. 211, 211 (1995); Answering 54.




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principles.123 This is unlike the district court’s dismissal order, which

sought to direct the “whole power of another department” in support of

judicial objectives.124

            C. Starbucks’s remaining constitutional arguments lack
               merit.

      Starbucks gestures at two other constitutional arguments: (1) the

NLRB is violating due process by acting simultaneously in a

prosecutorial and adjudicative role, and (2) the Guess? proceeding

violates the First Amendment right to petition the government. 125

Neither has merit.

      Case law universally rejects the proposition that the mere

combination of prosecutorial and adjudicative functions in a single

agency violates due process.126 By the same token, seeking injunctive

relief under Section 10(j) does not violate the Board’s obligation to avoid




123 Thomas v. Union Carbide Agr. Prod. Co., 473 U.S. 568, 592 (1985)

(cleaned up).
124 Mistretta v. United States, 488 U.S. 361, 381 (1989).

125 Answering 57–58.

126 See, e.g., AT&T v. FCC, 449 F.2d 439, 455 (2d Cir. 1971) (observing

that “the case law generally rejects the proposition that the combination
of judicial and adversary functions in one agency is a denial of due
process.”).


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prejudging the facts of a labor dispute.127 Nor are any “nonreciprocal”

evidentiary rules being employed in litigation before the Board;128

unfair labor practice cases need not and do not authorize prehearing

discovery for any party.129

     Starbucks’s throwaway citation to the First Amendment’s Petition

Clause (Answering 58) is even further afield. The right to petition the

government does not entail the right to engage in litigation conduct

with an illegal objective,130 because employers may not “simply

accomplish by subpoena that which they are barred from doing by




127 NLRB v. Sanford Home for Adults, 669 F.2d 35, 37 (2d Cir. 1981).

128 Answering 58.

129 NLRB v. Interboro Contractors, Inc., 432 F.2d 854, 858 (2d Cir.

1970).
Drukker Commc’ns v. NLRB, 700 F.2d 727, 733 (D.C. Cir. 1983), cited
by Starbucks, is not on point. There, the General Counsel prohibited an
NLRB agent who was a fact witness to key events from testifying as to
the agent’s personal knowledge. Here, as noted above at n.99, the
Guess? case seeks to terminate a fishing expedition that an ALJ has
found violates employees’ Section 7 rights; it does not and cannot limit
the introduction of evidence in the unfair labor practice case underlying
this Section 10(j) request. Put differently, the Guess? case is about
whether Starbucks’s efforts to obtain evidence violate the NLRA, not
about how it can use the evidence it already has in the 10(j) proceeding.
130 Bill Johnson’s Rests., Inc. v. NLRB, 461 U.S. 731, 737 n.5 (1983).




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law.”131 If Starbucks’s discovery requests violated the NLRA under

Guess?, the Petition Clause is irrelevant.132

V.   This Court should direct the requested injunction or
     remand this case with instructions.

        A. Starbucks had a full and fair opportunity to present evidence
           on the just-and-proper element of Section 10(j).

     Introducing “just and proper” evidence before the ALJ is far from

“unprecedented.”133 ALJs regularly hear testimony on the chilling effect

of an employer’s alleged violations, information that is relevant to

whether injunctive relief is “just and proper” but generally irrelevant to

the administrative proceeding.134 Courts have relied on administrative

record harm evidence when deciding whether to grant 10(j) relief.135




131 United Nurses, 871 F.3d at 788.

132 Id. at 786–88.

133 Answering 8.

134 NLRB Division of Judges Bench Book: An NLRB Trial Manual 184–

85 (Jeffrey D. Wedekind, et al. eds., Apr. 2023).
135 See, e.g. Chester v. Grane Healthcare Co., 666 F.3d 87, 102 (3d Cir.

2011) (discussing evidence of chilling impact adduced at ALJ hearing);
Diaz v. Pro. Transp., Inc., 996 F. Supp.2d 1215, 1223 n.4 (M.D. Fla.
2014) (ALJ allowed “just and proper” evidence “for the sake of
efficiency, and to apprise [the employer] of what evidence the Regional
Director would be relying upon in the district court”).


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     Starbucks had ample opportunity to elicit evidence testing the

Board’s allegations of chilled union support.136 Indeed, the district judge

encouraged the parties to question witnesses about “just and proper”

evidence during the administrative hearing.137 Starbucks questioned

each of the employees to whom it later directed subpoenas on their “just

and proper” testimony.138 Starbucks elicited testimony about whether:

employees did not support the Union because they did not want to pay

dues,139 employees actually feared retaliation,140 and other sources of

chill.141 Starbucks misrepresents the record by stating that it was

denied “any document discovery in administrative proceedings.”142 In

fact, the ALJ specifically provided for the production of rebuttal




136 Contra Answering 60.

137 ECF 38, at 33.

138 A078-79, A086, A094, A096, A373, A375, A460; see also ECF 44, at 7

n.3, 7–8.
139 A083, A096.

140 A124–25, A127–28.

141 A080–83, A091–92, A096–100, A115, A126, A134–37, A146.

142 Answering 13.




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evidence to Starbucks.143 Starbucks fails to show any compelling reason

for the district court to duplicate efforts.144

      This evidence was sufficient for the ALJ to find Starbucks

committed many violations of the kind long-recognized as inherently

chilling.145 Starbucks attacks the conduct of the Union activists it

discharged,146 yet the ALJ considered that evidence147 and determined

that these terminations were unlawful.148 Starbucks’s dismissal of

Jamaica Towing,149 is beside the point; that case explains that

violations like Starbucks’s have long been recognized as inherently

harmful.150




143 SSA 348.

144 Answering 60–61.

145 See, e.g., Kaynard v. Palby Lingerie, Inc., 625 F.2d 1047, 1053 (2d

Cir. 1980) (discharging union supporters risks “a serious adverse impact
on employee interest in unionization”); NLRB v. Williams Enters., 50
F.3d 1280, 1288 (4th Cir. 1995) (threats of loss of employment “are
assumed to be ‘highly coercive’”).
146 Answering 7.

147 A243–44, A254–55, 261–63, A272–74.

148 A333–37.

149 Answering 62.

150 NLRB v. Jamaica Towing, Inc., 632 F.2d 208, 212–13 (2d Cir. 1980).




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     The record supports granting the injunction. As the “just and

proper” evidence shows, Union support is waning and employees fear

Starbucks’s response to their unionization efforts.151 Starbucks’s

violations have harmed employee rights in a manner that will be

irreparable, if left unremedied pending a Board order. One

decertification petition (dismissed by the Board)152 does not override the

rich record demonstrating an injunction is “just and proper.”153 There is

reasonable cause to believe unfair labor practices were committed and

the requested relief is just and proper.




151 The Cortes/Karam amicus brief (at 5–6) is on behalf of two Buffalo-

area employees, not all the employees that allegedly signed the
decertification petition. Their motivation to circulate the decertification
petition cannot be ascribed to the rest of the employees.
152 372 NLRB No. 156 (Nov. 15, 2023).

153 McKinney ex rel. NLRB v. Southern Bakeries, see Cortes/Karam 9, is

distinguishable, as no unrefuted evidence exists here that a majority of
employees no longer support the Union and have not for years. See 786
F.3d 1119, 1124–25 (8th Cir. 2015). Rather, there is evidence that
Starbucks discharged Union supporters. By systematically terminating
Union supporters, Starbucks is able to hire a non-union workforce and
weaken support for the Union. See Hoffman, 247 F.3d at 369. The
appropriate status quo to protect is the conditions prior to the unfair
labor practices. Id.


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         B. This Circuit has previously directed injunctions when
            analyzing 10(j) factors anew.

      This Circuit has directed injunctions when the district court did

not fully consider both prongs of the 10(j)/10(l) test.154 In Kaynard v.

Independent Routemen’s Association, this Court directed entry of a

Section 10(l) injunction, even though the district court made insufficient

reasonable cause findings and no determination on the “just and

proper” prong.155 In Hoffman v. Inn Credible Caterers, Ltd., the district

court failed to analyze reasonable cause, dismissing the petition on “just

and proper” grounds.156 This Circuit found reasonable cause, reversed

the district court’s just-and-proper analysis, and remanded the case to

enter the injunction.157 It did not merely supplement the district court’s

decision, but fully analyzed one prong for the first time. Other circuits

have similarly directed 10(j) injunctions.158



154 29 U.S.C. § 160(l). The statutory text belies Starbucks’s statement

(Answering 60 n.7) attempting to distinguish Section 10(l) cases.
155 479 F.2d 1070, 1072 (2d Cir. 1973).

156 247 F.3d 360, 365–66 (2d Cir. 2001).

157 Id. at 370.

158 Pascarell v. Vibra Screw, Inc., 904 F.2d 874, 879, 882 (3d Cir. 1990)

(district court failed to determine reasonable cause and misinterpreted
just and proper standard, which “must recognize the public interest



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      Considering that 10(j) is a form of equitable relief, this Court has

numerous options. First, this Court could direct entry of the injunction

as requested or remand as to the scope of the order beyond the affected

stores.159 The Court may also remand with instructions to quash the

subpoenas and decide the 10(j) on the existing record. Finally, this

Court could remand with instructions to modify the subpoenas or enter

a new protective order recognizing NLRA confidentiality interests.

VI.   The district judge’s statements undermine the appearance
      of justice; reassignment is warranted.

      Although reassignment is considered an extraordinary remedy,

this is an extraordinary case where an objective observer might




implicit in protecting the collective bargaining process”); Aguayo v.
Tomco Carburetor Co., 853 F.2d 744, 750–51 (9th Cir. 1988) (district
court did not determine reasonable cause and concluded without
explanation that interim relief was not necessary; circuit remanded
with instructions to issue order granting petition).
159 If remanded on scope, the district court should take notice of other

proceedings showing Starbucks’s nationwide unfair labor practices. See
Overstreet v. United Bhd. of Carpenters, 409 F.3d 1199, 1203 n.7 (9th
Cir. 2005) (courts may take judicial notice of administrative decisions
not in the district court record); Starbucks Corp., No. 19-CA-294579,
2023 WL 6379600 (NLRB Div. of Judges Sept. 28, 2023) (Starbucks has
a “demonstrated proclivity for violating the Act and infring[ing] upon
the statutory rights of its employees in any number of means” during
organizing efforts) (citing cases).


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reasonably question the judge’s impartiality.160 The district judge did

not “merely” question the fairness of Board proceedings.161 He accused

the Region of “hiding” evidence, and denigrated the integrity of the

Board’s statutory process as “repugnant to notions of fairness” and

obstructing the court case.162 Specifically, he made clear his opinion

that the Board’s underlying administrative proceeding was unfair.163 He

also complained that the Board’s Guess? proceeding had been unfair.164

He described the Region’s investigative process as a “hide-the-ball

tactic,”165 and the Region’s statutory duty to investigate the Union’s

charge over the subpoenas as “obstruct[ing] discovery[.]”166 Viewed



160 Ligon v. City of N.Y., 736 F.3d 118, 128 (2d Cir. 2013).

161 Answering 63–64.

162 See, e.g., A418, A429, A460, A480–81, A487, A491, A497, A502,

A505.
163 A460 (the court asked, “isn’t it also in the public interest to have a

proceeding here, a 10(j) proceeding here that’s fair?” And Regional
counsel responded, “we don’t agree with the idea that our proceeding
was unfair.”).
164 A480 (after noting the length of time this discovery dispute has

taken, “instead, the NLRB went back and proceeded with its Guess?
proceeding and obtained a ruling from the ALJ that went contrary to
what I ruled. Is there anything unfair about that?”).
165 A418, A502.

166 A487.




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together, a reasonable person could find that the district judge’s

statements exhibited bias and question the court’s impartiality. 167

     Since the district court did not conduct evidentiary hearings or

reach a decision on the merits oqf the petition, reassigning the case

would not waste or duplicate efforts.168 Thus, reassignment is

appropriate to preserve the appearance of justice.

                             CONCLUSION

     Because Starbucks fails to present any convincing argument

supporting affirmance of the decision below, the Court should remand

this case with instructions directing an injunction or other appropriate

proceedings and direct the district court to reassign this matter.




167 See United States v. Campo, 140 F.3d 415, 420 (2d Cir. 1998);

Shcherbakovskiy, 490 F.3d at 142.
168 See United States v. Johnson, 850 F.3d 515, 525 (2d Cir. 2017).




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                   CERTIFICATE OF COMPLIANCE

     Pursuant to Federal Rules of Appellate Procedure 32(a)(5)-(6),

32(a)(7)(B), and 32(g)(1), the Board certifies that its final brief contains

6970 words of proportionally spaced, 14-point type, and the word-

processing software used was Microsoft Word for Office 365. The Board

further certifies that the PDF file submitted to the Court has been

scanned for viruses using Microsoft Defender and is virus-free according

to that program.



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Dated at Washington, DC
this 11th day of December 2023
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                      CERTIFICATE OF SERVICE

     I hereby certify that on December 11, 2023, I electronically filed

the foregoing document with the Clerk of the Court for the United

States Court of Appeals for the Second Circuit by using the CM/ECF

system. I certify further that the foregoing document was served on all

parties or their counsel of record through the appellate CM/ECF

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